 

 

 

Case 1:22-cv-02460-LGS Document 61 Filed 11/10/22 Page 1of1

Crvit RicuTs CLInic

WASHINGTON SQUARE LEGAL SERVICES, INC.
245 Sullivan Street - 5" Floor
NEW YORK, NEw YorkK 10013

(212) 998-6430
Fax (212) 995-4031

LAURA SAGER
Supervising Attorney
Direct Line: 998-6442

November 10, 2022

Via ECF

Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
United States Courthouse

500 Pearl Street

New York, NY 10007

Re: Joel Sosa v. New York City Housing Authority
22 Civ. 2460 (LGS)

Dear Judge Schofield:

On September 14, 2022, Your Honor granted my request to authorize a student in
my clinical course at New York University School of Law, Rosamond Kopezynski, to
appear on behalf of Plaintiff under my supervision in the above referenced case. (Dkt 50).
I write now to request your approval for three more students in my Clinic to appear under
my supervision on behalf of the plaintiff. They are Jessica Daneshevar, Sydney
Massenberg, and Peter Rawlings.

I enclose the forms provided by the Southern District Student Practice Plan for
each of the students. The last section on each of the forms has a line for Your Honor to
indicate your consent, which the Student Practice Plan requires. Thank you for your
consideration.

Respectfully yours,
fouwa angel

Laura Sager
Enclosures

ee: William Gosling, Esq.
Attomey for Defendant

WASHINGTON SQUARE LEGAL SERVICES, INC,, IS A NOT-FOR-PROFIT CORPORATION FORMED IN SUPPORT
OF THE CLINICAL EDUCATION PROGRAMS OF THE NEW YORK UNIVERSITY SCHOOL OF LAW

 
